           Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-829V
                                          UNPUBLISHED


    MARY CLAUSEN,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: February 16, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

       On June 5, 2019, Mary Clausen filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by an influenza (“flu”) vaccine administered on
September 30, 2017. Petition at 1; Stipulation, filed at February 10, 2021, ¶¶ 1-4.
Petitioner further alleges that the vaccine was administered within the United States, that
she suffered the residual effects of this alleged injury for more than six months, and that
there has been no prior award or settlement of a civil action for damages on her behalf
as a result of her condition. Petition at 1, 3; Stipulation at ¶¶ 3-5. “Respondent denies that
Petitioner sustained a SIRVA Table injury; denies that the vaccine caused Petitioner’s
alleged shoulder injury, or any other injury; and denies that her current condition is a
sequela of a vaccine-related injury.” Stipulation at ¶ 6.


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 2 of 7



       Nevertheless, on February 10, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $25,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 3 of 7
Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 4 of 7
Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 5 of 7
Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 6 of 7
Case 1:19-vv-00829-UNJ Document 34 Filed 03/19/21 Page 7 of 7
